           Case 1:21-cv-00944-JL Document 33 Filed 05/05/22 Page 1 of 9




                            UNITED STATE DISTRICT COURT
                         FOR THE DISTRICT OF NEW HAMPSHIRE

JOHN DOE,                     )
Plaintiff,                    )
                              )
v.                            )                No. 1:21-cv-00944-JL
                              )
TOWN OF LISBON and NEW        )
HAMPSHIRE DEPARTMENT )
OF JUSTICE                    )
Defendants.                   )
______________________________)

    PLAINTIFF’S OBJECTION TO EUGENE VOLOKH’S MOTION UNSEAL THE

                          RECORD AND OPPOSE PSEUDONYMITY

        NOW COMES the Plaintiff, John Doe, by and through his counsel, Cooper Cargill

Chant, P.A., and hereby OBJECTS to Eugene Volokh’s Motion to Unseal the Record and

Oppose Pseudonymity in the above-captioned matter.

        In brief, Professor Volokh argues that sealing and pseudonymity are not appropriate in

this case. Plaintiff respectfully disagrees.

                                     COMPLAINT and FACTS

        Plaintiff has alleged, in brief, that Defendant Town of Lisbon (“Town”) improperly

caused him to be listed on the Exculpatory Evidence Schedule (“EES”), generally a list of police

officers found to have a credibility issue. Amended Complaint, at ¶¶ 12-40. The EES is

maintained by the New Hampshire Department of Justice (“NHDOJ”). Amended Complaint, at

¶¶ 30; RSA 105:13-d. Putative Intervenor Professor Volokh requests that this Court unseal the

record and strip Plaintiff of pseudonymity.
           Case 1:21-cv-00944-JL Document 33 Filed 05/05/22 Page 2 of 9




                                               LAW

       Despite the public’s “strong interest in an open litigation process,” courts have inherent

authority to allow plaintiffs to proceed anonymously. Verogna v. Twitter, Inc., 2020 U.S. Dist.

LEXIS 155565, *3 (D.N.H. Aug. 27, 2020). Courts regularly allow plaintiffs to file lawsuits

anonymously, even when there is no specific rule or procedure for doing so. See generally,

Donald P. Balla, John Doe Is Alive and Well: Designing Pseudonym Use in American Courts, 63

Ark. L. Rev. 691, 691 (2010).

       RSA 105:13-d governs the maintenance of the EES by the Department of Justice. Under

the terms of RSA 105:13-d, the “name and corresponding information” related to an officer

placed on the EES shall not be made public so long as there is “a pending legal action regarding

the officer’s placement on the exculpatory evidence schedule.” RSA 105:13-d(II)(d). Such

information is only to be made public “[o]nce the pending action has concluded with a final

order” and after all appeals have been exhausted. Id. See also RSA 105:13-d(III)(b) (“[officer’s]

name and corresponding information on the exculpatory evidence schedule shall become public

only after the completion of the grievance process, and after the officer has exhausted all

appellate rights”).

       Moreover, RSA 105:13-d(V) specifically states that “[n]othing herein shall preclude the

court from taking any necessary step to protect the anonymity of the officer before entry of a

final order.”

       In the absence of statutory authority directly addressing a party’s capacity to proceed

with a pseudonym, the Courts have generally recognized several factors to be weighed in making

such a determination. See, e.g., Doe v. Megless, 654 F.3d 404, 408 (3d Cir. 2011). In Verogna v.




                                                 2
           Case 1:21-cv-00944-JL Document 33 Filed 05/05/22 Page 3 of 9




Twitter, Inc., this Court employed the same non-exhaustive list of factors as used by the Third

Circuit Court of Appeals in Megless:

        “(1) the extent to which the identity of the litigant has been kept confidential;

        (2) the bases upon which disclosure is feared or sought to be avoided, and the

        substantiality of these bases;

        (3) the magnitude of the public interest in maintaining the confidentiality of the

        litigant’s identity;

        (4) whether, because of the purely legal nature of the issues presented or

        otherwise, there is an atypically weak public interest in knowing the litigant’s

        identities;

        (5) the undesirability of an outcome adverse to the pseudonymous party and

        attributable to his refusal to pursue the case at the price of being publicly

        identified; and

        (6) whether the party seeking to sue pseudonymously has illegitimate ulterior

        motives.”

Verogna, No. 20-CV-536-SM, 2020 WL 5077094, at *2 (citing Megless, 654 F.3d at

409).

                                         ARGUMENT

        The statutory framework for challenging inclusion on the EES specifically provides for

withholding the “name and corresponding information” of a police officer from the public until

the entry of a final judgment. RSA 105:13-d(II)(d). In light of the clear and unambiguous

directives of RSA 105:13-d, no challenge to maintaining Plaintiff’s anonymity can succeed short




                                                  3
             Case 1:21-cv-00944-JL Document 33 Filed 05/05/22 Page 4 of 9




of a direct challenge on the constitutionality of the statute, which Professor Volokh has not

raised.

          Even if RSA 105:13-d falls just short of specifically authorizing pseudonymous litigation

and the sealing of records, or if this Court takes Professor Volokh’s suggestion that State law

should not govern this arguably procedural issue, the posture of this case justifies the measures

that have been taken to protect Plaintiffs identity. Again, RSA 105:13-d(V) specifically states

that “[n]othing herein shall preclude the court from taking any necessary step to protect the

anonymity of the officer before entry of a final order.”

          As an alternative basis for keeping the record sealed and maintaining pseudonymity,

Plaintiff contends that the factors enumerated in Megless and utilized in Verogna weigh in favor

of protecting his identity.

          As to the first factor, Plaintiff’s identity has remained confidential since the inception of

this case, with the assent of both the state and federal courts and the Attorney General of New

Hampshire. New Hampshire Department of Justice partially redacted the EES before it released

the EES to the public this spring. Exhibit 1 (EES as published by the Attorney General on March

29, 2022 https://www.doj.nh.gov/exculpatory-evidence-schedule/documents/ees-list.pdf).

Among the redacted information is the name of any officer with a pending lawsuit to have his or

her name removed from the list. Consequently, Plaintiff’s inclusion on the list is not public

knowledge. This is entirely distinguishable from Megless, in which the document with allegedly

defamatory statements had already been widely published “and countless people in the

community viewed it.” Megless, 654 F.3d at 410. Plaintiff’s name has remained confidential, and

there has been no public disclosure to date.




                                                    4
           Case 1:21-cv-00944-JL Document 33 Filed 05/05/22 Page 5 of 9




        As to the second factor, the bases for seeking anonymity are substantial and compelling.

In Megless, the plaintiff “fear[ed] that if others learn of his identity, they will believe that he is a

pedophile.” Id. In analyzing this factor, the court noted, “whether Plaintiff is a pedophile is not at

issue here. Instead, the question is whether the Defendants can be liable for distributing a flyer.”

(Cleaned up.) Id. In this case, unlike in Megless, the issue is whether Plaintiff belongs on the

EES at all, not simply whether Defendants can be liable for improperly attempting to put him on

the EES in the first place. See, e.g., Amended Complaint, at ¶ 55 (alleging and seeking a ruling

that the alleged underlying conduct is not potentially exculpatory). It is an important point of

distinction that Plaintiff seeks an affirmative ruling on merits of the underlying statements, not

simply damages for the Defendants having made them.

        Moreover, one of the most commonly recognized bases for anonymity is holding a

religious belief that “invited an opprobrium analogous to the infamy associated with criminal

behavior.” Doe v. Stegall, 653 F.2d 180, 186 (5th Cir. 1981). Although this case does not involve

a religious belief, inclusion on the EES invites opprobrium analogous to the infamy associated

with criminal behavior, because it amounts to being publicly branded as a “dishonest cop” or

even worse. In the modern political climate, being listed among law enforcement officers who

have engaged in excessive use of force, perjury, or other criminal conduct is a practical invitation

for scorn, derision, or worse. See Exhibit 2 (Law Enforcement Memorandum: The Exculpatory

Evidence Protocol and Schedule (March 21, 2017)) (listing categories of exculpatory evidence,

including the abuse of power to gain sexual favors, excessive use of force, etc.).

        As to the third factor, the State of New Hampshire’s elected representatives have made it

clear that the public has a strong interest in protecting the identity of police officers who have

been improperly listed on the EES. The Attorney General of New Hampshire redacts the EES to



                                                    5
            Case 1:21-cv-00944-JL Document 33 Filed 05/05/22 Page 6 of 9




protect the identity of officers who lodge challenges to their inclusion on the EES. This is

consistent with the General Court of New Hampshire’s intent in passing RSA 105:13-d, which

generally directs that the names and corresponding information about officers who challenge

their inclusion on the EES should not be made public until all legal challenges and appeals have

been resolved. The public has an interest in protecting the identity of improperly implicated

officers until they have had a chance to challenge their inclusion on the EES, as this practice will

protect innocent law enforcement officers and tend to to keep good and honest officers in the

ranks.

         Furthermore, when analyzing this factor, the Megless court noted that anonymity is less

necessary in cases where there are not likely to be other similarly situated plaintiffs. Megless,

654 F.3d at 410. Unlike the highly specific alleged defamation in Megless, challenges to

inclusion on the EES are relatively common. See Exhibit 1 (redacting the names of dozens of

officers who have filed lawsuits challenging their inclusion on the EES).

         As to the fourth factor, this case turns primarily on legal questions. It is true that some

factual questions need to be resolved, but much of the case will turn on the requirements and

application of RSA 106-L-6, VII and IX (requiring fitness testing for police officers) and the

legal question of whether Brady v. Maryland (373 U.S. 83 (1963)) and State v. Laurie (139 N.H.

325 (1995)) mandate disclosure of the alleged underlying misconduct. The public certainly has

an interest in what police conduct merits inclusion on the EES; but the resolution of those legal

questions is totally independent of Plaintiff’s identity.

         As to the fifth factor, the Megless court recognized that “the public is harmed when

alleged abuses of power by public officials go unchallenged because plaintiffs fear litigating

publicly.” Megless, 654 F.3d at 410. The allegations of this case are that the Defendants—



                                                   6
           Case 1:21-cv-00944-JL Document 33 Filed 05/05/22 Page 7 of 9




government officials in positions of power over Plaintiff—improperly caused Plaintiff to be

listed on the EES.

       If Plaintiff’s name is published at this stage, the damage will be done; even if he is

ultimately successful, his name will irreversibly be tied to the EES and the opprobrium attendant

thereto. For this very reason, RSA 105:13-d specifically contemplates keeping officers’ identities

secret until after a final judgment on the merits. Litigating under a pseudonym and sealing the

record are the only ways to protect Plaintiff and other wrongly implicated police officers, and to

encourage the resolution of their claims on the merits.

       As to the sixth factor, Professor Volohk does not suggest, nor is there any implication,

that Plaintiff has proceeded anonymously for nefarious or illegal reasons. Moreover, because

Plaintiff is not currently working as a police officer, there is no legitimate public concern that his

anonymity in these proceedings will somehow shield him from the consequences of any

misconduct in the line of duty.

                                          CONCLUSION

       Plaintiff’s effort to remain anonymous is not, as Professor Volokh attempts to cast it, a

cynical ploy to allow a disgruntled ex-employee to sue his old boss without future bosses

knowing about it. These proceedings are an effort to prevent his name and reputation from being

sullied in the first instance. RSA 105:13-d establishes a statutory framework that repeatedly

stresses the importance of allowing listed officers to challenge their inclusion on the EES

anonymously, so that an improper or inadvertent listing does not indelibly mar their good name.

       Plaintiff does not dispute that economic or reputational harms are generally insufficient to

warrant pseudonymity. See, e.g., Megless, 654 F.3d at 408. Nor does Plaintiff dispute that, as one

court has put it, “to prevent disclosure of their identities in all such cases would create an



                                                  7
              Case 1:21-cv-00944-JL Document 33 Filed 05/05/22 Page 8 of 9




exception that virtually swallows the rule.” Doe v. Prudential Ins. Co. of America, 744 F. Supp.

40, 42 (D.R.I. 1990).

        However, Plaintiff does not seek a broad exception to the general rule. His is one of a

small handful of cases brought under a particular statutory scheme—RSA 105:13-d—that

specifically contemplates allowing plaintiffs to proceed anonymously. There is, therefore, no

chance of this Court creating an exception that swallows the general rule against anonymous

litigation.

        Moreover, any interest that Professor Volokh has in knowing Plaintiff’s name turns on

this Court’s eventual final judgment on the merits in this case. If Plaintiff is ultimately

unsuccessful in vindicating himself, his name will appear on the EES for all the world to see. If,

however, Plaintiff is successful in showing that he does not belong on the EES, his name will be

of no particular interest to Professor Volokh or the pubic. He will simply be one of the vast

majority of New Hampshire law enforcement officers whose personnel record does not include

potentially exculpatory evidence.

        This Court should honor the intent of the New Hampshire General Court and abide by the

statutory framework for withholding Plaintiff’s name from the public until final judgment.

Alternatively, this Court should find that Plaintiff has met the burden laid out in Megless for

proceeding anonymously.

        A separate memorandum is unnecessary as the relevant facts and citations of law are

included in this Objection.




                                                  8
          Case 1:21-cv-00944-JL Document 33 Filed 05/05/22 Page 9 of 9




       WHEREFORE, the Plaintiff respectfully requests that this Honorable Court:

   a. Deny Eugene Volokh’s Motion to Unseal the Record and Oppose Pseudonymity,

   b. Grant such further relief as is deemed appropriate.




                                            Respectfully submitted,

                                            PLAINTIFF,
                                            JOHN DOE,
                                            By His Attorneys,

                                            COOPER CARGILL CHANT, P.A.

       05/05/2022                           /s/ Christopher T. Meier
Dated: ____________
                                            Christopher T. Meier, Bar ID # 17135
                                            2935 White Mountain Highway
                                            North Conway, New Hampshire 03860
                                            Tel: (603) 356-5439
                                            Fax: (603) 356-7975
                                            Email: cmeier@coopercargillchant.com


                                CERTIFICATE OF SERVICE

      I, Christopher T. Meier, hereby certify that on the date shown, I delivered the foregoing
document to all parties and counsel of record by e-file.


       05/05/2022                           /s/ Christopher T. Meier
Dated: ____________
                                            Christopher T. Meier, Bar ID # 17135




                                                9
